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 5   Attorney for Defendant,
     REFUGIO SANTANA
 6
 7
                      IN THE UNITED STATES DISTRICT COURT
 8
                     EASTERN DISTRICT OF CALIFORNIA, FRESNO
 9
                                    * * * * *
10
11                                           ) Case No.: CR-F-03-5107 AWI
       UNITED STATES OF AMERICA,             )
12                                           ) STIPULATION FOR CONTINUANCE AND
                  Plaintiff,                 ) PROPOSED ORDER THEREIN
13                                           )
            vs.                              )
14                                           )
       REFUGIO SANTANA,                      )
15                                           )
                  Defendant.                 )
16
17
          IT IS HEREBY STIPULATED between the Defendant, REFUGIO SANTANA,
18
     by and through his attorney of record, Anthony P. Capozzi, and
19
     Plaintiff, by and through Assistant United States Attorney, Dawrence
20
     Rice, that the Hearing now set for July 25, 2005, at 9:00 a.m. be
21
     continued to August 1, 2005 at 9:00 a.m.
22
23
          It is further stipulated by the parties that any delay resulting
24
     from this continuance shall be excluded on the following basis:
25             Title 18, United States Code, Section 3161(h)(1)(A) which
26             states:
27             (h)    The following periods of delay shall be excluded in
28
              Case 1:03-cr-05107-AWI Document 84 Filed 07/25/05 Page 2 of 3


 1
                       computing the time within which any information or an
 2
                       indictment must be filed, or in computing the time
 3
                       within   which   the     trial   of    any    such   offense     must
 4                     commence:
 5                     (1)   Any   period       of   delay    resulting        from    other
 6                           proceedings concerning the defendant, including
 7                           but not limited to –
 8                           (A)   delay      resulting       from     an      proceeding,
 9                                 including any examinations, to determine the
10                                 mental competency or physical capacity of
11                                 the defendant;
12
13                                               Respectfully submitted,

14   Dated:    July 21, 2005

15
                                                        /s/    Anthony      P.        Capozzi
16
                                                 Anthony P. Capozzi,
17                                               Attorney for Defendant,
                                                 Refugio Santana
18
19   Dated:    July 21, 2005

20                                                      /s/         Dawrence          Rice

21                                               Dawrence Rice,
                                                 Assistant U.S. Attorney
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28                                          2
              Case 1:03-cr-05107-AWI Document 84 Filed 07/25/05 Page 3 of 3


 1                                       ORDER
 2          IT IS SO ORDERED.    Good cause having been shown, the Hearing set
 3   for July 25, 2005, is vacated and continued to August 1, 2005 at 9:00
 4
     a.m.     Additionally, time shall be excluded by stipulation from the
 5
     parties and pursuant to 18 USC §3161(h)(1)(A).
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 7
     IT IS SO ORDERED.
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 9   Dated:   July 25, 2005                   /s/ Anthony W. Ishii
     0m8i78                             UNITED STATES DISTRICT JUDGE
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